Case 1:09-cr-00057-IMK-JSK Document 79 Filed 09/16/09 Page 1 of 6 PageID #: 188



             IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,



v.                                               Criminal No. 1:09CR57
                                                 (Judge Keeley)


JOVAN JAMES,
                  Defendant.


            ORDER ADOPTING THE MAGISTRATE JUDGE’S REPORT
             AND RECOMMENDATION AND DENYING DEFENDANT’S
             MOTION FOR RELIEF FROM PREJUDICIAL JOINDER

                               I. INTRODUCTION

      On May 5, 2009, a grand jury attending the United States

District Court for the Northern District of West Virginia returned

a    two-count   indictment     against    the    defendant,   Jovan    James

(“James”), together with co-defendants, Marcus A. Martin, Herbert

Robinson, and Lance E. Applewhite.               All four defendants were

charged with two counts of aiding and abetting in an assault with

a dangerous weapon, with intent to do bodily harm without just

cause.

      Through counsel, James submitted a Motion for Relief From

Prejudicial Joinder, pursuant to Fed.R.Crim.P. 14(a). (Dkt. no.

28). In support of his motion, James contends that his prosecution

should be severed from that of his co-defendants because it would

unfairly prejudice him to be tried with them.          He also argues that

severance is appropriate because “the evidence against him [was]
Case 1:09-cr-00057-IMK-JSK Document 79 Filed 09/16/09 Page 2 of 6 PageID #: 189



UNITED STATES V. JAMES                                                1:09CR57

          ORDER ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
                 RECOMMENDATION, DENYING DEFENDANT’S
              MOTION FOR RELIEF FROM PREJUDICIAL JOINDER

much less than that of his co-defendants.”          Defendant’s Memorandum

in Support of Motion for Relief from Prejudicial Joinder, at p. 2

(Dkt no. 28).

           II. Magistrate Judge’s Report and Recommendation

      In his Report and Recommendation, Magistrate Judge Kaull

concluded that the four defendants indicted on May 5, 2009 were

properly joined and should be tried together.              He reasoned that

joinder     was   proper    under     Fed.R.Crim.P.    8    because       it     is

“indisputable     that   all   four   defendants    are    alleged    to       have

participated in the same act or transaction or series of acts or

transactions constituting both counts of this case.”

      In his R&R, Magistrate Judge Kaull stated that the well-

settled law in the Fourth Circuit is that, “[b]arring special

circumstances,     individuals      indicted   together    should    be    tried

together.” United States v. Brugman, 655 F.2d 540 (4th Cir. 1981).

He noted that, in the Fourth Circuit, defendants charged with

participating in the same offense are generally tried together. He

also further observed that, under Fourth Circuit precedent, the

mere fact that a severance would increase a defendant’s chances of

acquittal does not entitle him to severance; moreover, a defendant




                                       2
Case 1:09-cr-00057-IMK-JSK Document 79 Filed 09/16/09 Page 3 of 6 PageID #: 190



UNITED STATES V. JAMES                                                 1:09CR57

          ORDER ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
                 RECOMMENDATION, DENYING DEFENDANT’S
              MOTION FOR RELIEF FROM PREJUDICIAL JOINDER

bears the burden of proving or showing that prejudice will result

from a court’s failure to grant a severance.

      Under Supreme Court precedent, severance is required only when

“there is a serious risk that a joint trial would compromise a

specific trial right of one of the defendants, or prevent the jury

from making a reliable judgment about guilt or innocence.”               Zafiro

v. United States, 506 U.S. 534,             539 (1993).      In this regard,

Magistrate Judge Kaull observed that a defendant such as James is

not entitled to severance on the ground that the evidence is

stronger against one or more of his co-defendants than it is

against him, and         concluded that James had not sufficiently

demonstrated that a failure to sever his prosecution would present

a serious risk that one of his specific              trial rights would be

compromised or that the jury would be prevented from reliably

judging his guilt or innocence.            He therefore denied Defendant’s

Motion for Relief from Prejudicial Joinder.             (Dkt no. 28).

                                III. ANALYSIS

      In his objections to the recommendation to deny his Motion for

Relief from Prejudicial Joinder,1 James argues that the evidence


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         The court shall make a de novo determination of those portions of the
report or specified proposed findings or recommendations to which objection is
made.”) (emphasis added); Page v. Lee, 337 F.3d 411, 416 n.3 (4th Cir. 2003); see

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Case 1:09-cr-00057-IMK-JSK Document 79 Filed 09/16/09 Page 4 of 6 PageID #: 191



UNITED STATES V. JAMES                                                 1:09CR57

          ORDER ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
                 RECOMMENDATION, DENYING DEFENDANT’S
              MOTION FOR RELIEF FROM PREJUDICIAL JOINDER

against his co-defendants is more incriminating than it is against

him, and that he therefore would be denied a fair trial if tried

alongside them.       James also contends that he will be unable to

receive a fair trial without severance because his association with

the other three co-defendants, coupled with the weak nature of the

evidence against him, will prevent the jury “from making a reliable

judgment about guilt or innocence.”           Zafiro v. United States, 506

U.S. 534, 539 (1993) (quoted by Defendant’s Objections to Report

and Recommendations, at p. 1 (Dkt. no. 34)).

      Under governing Fourth Circuit precedent, James’s contention

has no merit. It is clear that “[t]he fact that the evidence

against one defendant is stronger than the evidence against other

defendants does not in itself justify severance.” United States v.

Brooks, 957 F.2d 1138, 1145 (4th Cir.), cert. denied, 505 U.S. 1228

(1992).     Furthermore,     as already noted, Magistrate Judge Kaull

correctly pointed out in his R&R that “it is well settled that

defendants are not entitled to severance merely because they may

have a better chance of acquittal in separate trials.” Zafiro, 506

U.S. at 540.


also United States v. 2121 E.30th St., 73 F.3d 1057, 1060 (10th Cir. 1996)
(noting that circuit courts have uniformly held that the failure to file specific
objections waives appellate review of factual and legal questions).

                                       4
Case 1:09-cr-00057-IMK-JSK Document 79 Filed 09/16/09 Page 5 of 6 PageID #: 192



UNITED STATES V. JAMES                                                  1:09CR57

           ORDER ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
                  RECOMMENDATION, DENYING DEFENDANT’S
               MOTION FOR RELIEF FROM PREJUDICIAL JOINDER

        In most instances, the type of prejudice justifying an order

to    sever    defendants’     trials       will   occur   only    in   “special

circumstances,” which are not present here. United States v.

Brugman, 655 F.2d 540, 542 (4th Cir. 1981).                   One reason why

severance is not often granted is because any prejudice a defendant

may   suffer    from   being   tried    alongside     other   persons     can   be

eliminated or reduced by the district court taking “less drastic

measures, such as limiting instructions.”             Zafiro, 506 U.S. at 539

(citing Richardson v. Marsh, 481 U.S. 200, 209 (1987)).

        An evaluation of the potential for and severity of prejudice

attendant to the prosecution of two or more persons in a single

trial for offenses arising from a single transaction is made

according to the district court’s discretion. Id. Here, the Court

adopts Magistrate Judge Kaull’s recommendations and concludes that

James    has   not   sufficiently   demonstrated       that   he   will   suffer

prejudice severe enough to warrant severance.

                               IV. CONCLUSION

        For the reasons stated, the Court ADOPTS the Magistrate

Judge’s recommendation, DENIES the Defendant’s Objections to Report

and Recommendations of the Magistrate Judge, ADOPTS the Magistrate

Judge’s Report and Recommendation in its entirety, and, pursuant to

                                        5
Case 1:09-cr-00057-IMK-JSK Document 79 Filed 09/16/09 Page 6 of 6 PageID #: 193



UNITED STATES V. JAMES                                              1:09CR57

          ORDER ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
                 RECOMMENDATION, DENYING DEFENDANT’S
              MOTION FOR RELIEF FROM PREJUDICIAL JOINDER

Fed.R.Crim.P. 14(a), DENIES Defendant’s Motion for Relief from

Prejudicial Joinder (dkt no. 28).

      It is so ORDERED.

      The Court directs the Clerk to transmit copies of this Order

to counsel of record and all appropriate agencies.

DATED: September 16, 2009.


                                           /s/ Irene M. Keeley
                                           IRENE M. KEELEY
                                           UNITED STATES DISTRICT JUDGE




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